                                        UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF OREGON

In re                                        )
Eric L. Silva                                ) Case No. 19-34037-pcm12
                                             )
                                             ) Notice of Postconfirmation
                                             ) Amendment of Plan
Debtor(s)                                    )

The proponent, who is Debtor                                                              , [i.e., debtor;
trustee; or creditor (also state type of claim and any business name)] and whose name and address are:
Eric L. Silva, 26755 Blankenship Rd., Beaver, OR 97108
by and through the undersigned certifies that:

1.      An amended plan dated ____________
                               10/13/2020 was attached to this notice and filed with the clerk.

2.      The confirmed plan (docket #       160      ) remains in full force and effect unless the amended plan
        becomes the plan.

3.      The trustee's name and address are: Virginia Burdette, 5506 6th Avenue South, Suite 207,
        Seattle, WA 98108                                                                                         .

4.      If proponent is the debtor, check one of the following two options:

           Attached, and verified as true and correct, are updated versions of Schedules A/B (including
           present amount of any secured debt on property), Schedules I and J, and a copy of the latest real
           property tax assessment statement; or

           The trustee has waived the requirement of updated Schedules A/B, I and J, and a copy of the
           latest real property tax assessment. Debtor will provide those documents promptly upon
           request by any interested party or the court.

5.      Prior to filing this plan with the clerk, a separate summary of the amendments, the plan, all
        schedules and statements required by paragraph 4 above, and any other pertinent information
        were served on the trustee who: (a) approved the plan, either affirmatively or by failure to notify
        proponent of an objection within 14 days of the date the plan was served, or (b) requested
        amendments which were unacceptable to the proponent.

6.      On ____________
              10/13/2020 this notice and the amended plan described above were served on the
        debtor(s); any debtor's attorney; trustee; U.S. Trustee; and all creditors (or if original time to file
        claims has expired, only on creditors who filed claims).

Date: 10/13/2020             /s/ Nicholas J. Henderson, Attorney for Debtor, (503) 417-0508
                            Signature, Relation to Proponent, and Contact Phone #
                             Eric L. Silva; #9796
                             (If debtor is proponent) Debtor’s Taxpayer ID#(s) (last 4 digits)

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NOTICE IS GIVEN THAT the amended plan described above will become the plan, pursuant to 11
U.S.C. § 1329(b) if a chapter 13 case or 11 U.S.C. § 1229(b) if a chapter 12 case, unless within 21 days
of the service date in paragraph 6 above, the trustee or other interested party:

   (1) files a written objection, setting forth the specific grounds for the objection, with the clerk at
       1050 S.W. 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene OR 97401; and

   (2) serves the objection on the proponent and the trustee named in paragraph 3 above. The terms
       of the previously entered confirmation order continue to apply except to the extent such
       terms are inconsistent with the amended plan.




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                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF OREGON

   In re
   Eric L. Silva                                       Case No.  19-34037-pcm12
                                                         Amended

                                                       CHAPTER 12 PLAN DATED                10/13/20
                                                         Motion to Value Collateral
                                                         Secured Claim Amount Limited with Creditor Consent
   Debtor(s)

   1. The debtor shall pay to the trustee (a) a periodic payment of $ See Attached Continuation Stmt 1 every
                                (insert either month, quarter, six months or year); (b) all proceeds from
      avoided transfers, including proceeds from transfers avoided by the trustee; (c) upon receipt by the
      debtor, all net tax refunds attributable to prepetition tax years and net tax refunds attributable to
      postpetition tax years (i.e., tax refunds not included on Schedule I, less tax paid by debtor for a
      deficiency shown on any tax return for that same postpetition tax year or tax paid by setoff by a tax
      agency for a postpetition tax year) received by the debtor during:            The life of the plan, or
             36 months from the date the first plan payment is due (check applicable provision; if neither is
      checked, “for the life of the plan” applies); (d) a lump sum payment of
      $                         on                          (date); and (e)
                                                                                                              .

   2. From the payments so received, the trustee shall make disbursements as follows:
      (a) First, to the trustee's commission and expenses.
      (b) Second, with respect to secured creditors, the terms of the debtor's prepetition agreement with
          each secured creditor shall continue to apply, except as otherwise provided for in this plan or
          the confirmation order. Secured creditors shall retain their liens until the payment of the
          underlying debt, determined under nonbankruptcy law, or discharge under § 1228, as
          appropriate. Any allowed secured claims will be paid as shown below. Should the trustee not
          have sufficient funds in trust to pay fully the disbursements listed below, disbursements of funds
          available shall be made pro rata. If a creditor is not fully secured, the unsecured portion of the
          creditor's claim shall be treated under the provisions of pt. 2(e) and (f) if the claim identifies the
          priority portion of the claim, and, if not, under the provisions of pt. 2(f) only. The following also
          apply:
         (1) To creditors whose claims have been timely filed and allowed as secured, make payments
               as follows: Estimated prepetition arrearages on property must be shown below,
               separately, and identified as such if debtor is curing defaults under
               11 U.S.C. § 1222(b)(5)). The arrearages and total amount of debt shown in a timely
               filed and allowed secured claim shall control.

                                      Estimated      Collateral      Estimated                      Post-
                                      Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
     Creditor        Collateral        if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment
SEE ATTACHED
CONTINUATION
STATEMENT 2(B)(1)




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                                       In re Eric L. Silva
                                   Case No. 19-34037-pcm12
                          Amended Chapter 12 Plan Dated October 13, 2020

                      Chapter 12 Plan Continuation Statement for Paragraph 1

In Paragraph 1 of the Plan, the provision for periodic payments shall read:

     Plan Month(s):               Corresponding Calendar Month:                    Payment Amount:
            1:                            February 2020                               $120,000
            2:                             March 2020                                  $42,500
            3:                              April 2020                                  $0.00*
            4:                              May 2020                                  $22,500*
            5:                              June 2020                                   $0.00*
            6:                              July 2020                                 $42,000*
          7-30:                   August 2020 through July 2022                        $42,500
         31-48:                  August 2022 through January 2024                      $52,500
         49-60:                 February 2024 through January 2025                     $62,500

* All arrearages for the missed or partial payments in Months 3 through 6 shall be paid at the end of the
Plan, as part of the Debtor’s lump-sum payment due on or before month 60. Any default under the Plan
or Order Confirming Chapter 12 Plan and Resolving Motions [ECF No. 160] (the “Confirmation
Order”) shall be deemed cured as the effective date of this Amended Chapter 12 Plan dated
October 13, 2020.




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Amended Chapter 12 Plan Dated October 13, 2020                                Case No. 19-34037-pcm12
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                                             Chapter 12 Plan Continuation Statement for Paragraph 2(b)(1)



     Creditor / Class             Collateral           Estimated      Collateral      Estimated Total    Term of       Post-           Periodic
                                                       Arrearage,    Value, if Not     Debt if Paying   Payments   Confirmation        Payment
                                                        if Curing    Paying in Full       in Full        (Up to)   Interest Rate

Tillamook County          26755 Blankenship Rd.        N/A          N/A               $22,914.34        12 Mo.     16% per annum    $2,235.00
Assessment and Taxation   Beaver, OR                                                                                                per month
CLASS 1(a)                Tax Acct# 211513
Tillamook County          23220 Blaine Cty Rd.         N/A          N/A               $0.00             12 Mo.     16% per annum    $0.00 – paid in
Assessment and Taxation   Beaver, OR                                                                                                full from sale
CLASS 1(b)                Tax Acct# 198413                                                                                          of property
Tillamook County          Bell Property                N/A          N/A               $31.04            1 Mo.      16% per annum    $31.04, plus
Assessment and Taxation   Beaver, OR                                                                                                interest to
CLASS 1(c)                Tax Acct# 202685                                                                                          payment date
Tillamook County          Bell Property                N/A          N/A               $667.91           12 Mo.     16% per annum    $66.00
Assessment and Taxation   Beaver, OR                                                                                                per month
CLASS 1(d)                Tax Acct# 211256
Tillamook County          Bell Property                N/A          N/A               $6,235.68         12 Mo.     16% per annum    $609.00
Assessment and Taxation   Beaver, OR                                                                                                per month
CLASS 1(e)                Tax Acct# 319435
Tillamook County          Bell Property                N/A          N/A               $239.74           1 Mo.      16% per annum    $239.74, plus
Assessment and Taxation   Beaver, OR                                                                                                interest to
CLASS 1(f)                Tax Acct# 321380                                                                                          payment date
Tillamook County          Bell Proeprty                N/A          N/A               $225.97           1 Mo.      16% per annum    $225.97 plus
Assessment and Taxation   Beaver, OR                                                                                                interest to
CLASS 1(g)                Tax Acct# 353646                                                                                          payment date
Purina Animal Nutrition   Debtor’s Cattle;             N/A          N/A               $69,032.11        28 Mo.     6.5% per annum   $1,600 per
LLC                       Milk Assignment                                                                                           month, plus
CLASS 2(a)                                                                                                                          AAFAAC*
Veterinarian Svcs of      Debtor’s Cattle              N/A          N/A               $42,001.84        28 Mo.     6.5% per annum   $250 per
Oregon                                                                                                                              month, plus
CLASS 2(b)                                                                                                                          AAFAAC*
Fairview Trucking         Debtor’s Cattle              N/A          N/A               $277,369.00       28 Mo.     6.5% per annum   $6,250 per
CLASS 2(c)                                                                                                                          month, plus
                                                                                                                                    AAFAAC*

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     Creditor / Class             Collateral           Estimated     Collateral      Estimated Total    Term of        Post-          Periodic
                                                       Arrearage,   Value, if Not     Debt if Paying   Payments    Confirmation       Payment
                                                        if Curing   Paying in Full       in Full        (Up to)    Interest Rate

KeyBank, N.A.             All Personal Property and   N/A           N/A              $1,536,505.74     60 Mo.     6.5% per annum   As set forth in
CLASS 3                   Cattle; Real Property at                                                                                 Paragraph 11
                          26755 Blankenship Road,                                                                                  and Exhibit 1.
                          Beaver, OR; Real Property
                          at 23220 Blaine Rd., OR
CHS, Inc.                 CHS Patronage Equity        N/A           N/A              $8,872.85         60 Mo.     5.75% per        $200.00 per
CLASS 4                                                                                                           annum            month

Kubota Credit Corp.       Kubota MX4700F              N/A           N/A              $4,301.24         60 Mo.     0%               $80.00 per
CLASS 5                   2WD Tractor                                                                                              month
                          Serial No. 11658
Kubota Credit Corp.       Kubota RTV500-A             N/A           N/A              $4,933.98         60 Mo.     0%               $86.00 per
CLASS 6                   Serial No. 45741                                                                                         month

Kubota Credit Corp.       Kubota SSV75HRC             N/A           N/A              $27,541.66        60 Mo.     0%               $475.00 per
CLASS 7                   Serial No. 10511                                                                                         month

Kubota Credit Corp.       Kubota M126GXDTC-F;         N/A           N/A              $36,293.12        60 Mo.     0%               $626.00 per
CLASS 8                   Serial No. 51447                                                                                         month

Diversified Financial     Irrigation Equipment        N/A           N/A              $27,979.87        60 Mo.     4.65% per        $528.00 per
CLASS 9                                                                                                           annum            month

DLL Finance LLC           Heatime Collars             N/A           N/A              $27,870.13        60 Mo.     5.37% per        $532.00 per
CLASS 10                                                                                                          annum            month

John Deere                Cab Tractor, Auger Mixer,   N/A           N/A              $101,325.87       60 Mo.     5.7% per annum   $1,945.00 per
CLASS 11                  Farm Loader, 200 Gallon                                                                                  month
                          Sprayer, Fertilizer
                          Spreader
Farm Credit Services of   Great Plains 1300F-2175     N/A           N/A              $6,138.46         60 Mo.     5.75% per        $270.00 per
America                   Drill,                                                                                  annum            month
CLASS 12                  Serial No. GP-CC2377


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     Creditor / Class                Collateral            Estimated     Collateral      Estimated Total    Term of        Post-          Periodic
                                                           Arrearage,   Value, if Not     Debt if Paying   Payments    Confirmation       Payment
                                                            if Curing   Paying in Full       in Full        (Up to)    Interest Rate

JP Morgan Chase              2006 Dodge RAM               N/A           N/A              $9,229.78         60 Mo.     4.24% per        $175.00 per
CLASS 13                                                                                                              annum            month

Estate of Marian Bell        Real Property                $21,776       N/A              N/A               1 Mo.      0.00%            $10,000 x 1;
CLASS 14                     (the “Bell Property”)                                                                                     $500 per month
(Payment described in this   28780 Blaine Rd                                                                                           thereafter
section to cure arrearage    Beaver, OR 97108
only; remainder of claim
paid
direct – See ¶ 4)

Carrington Mortg. Svcs,      Real Property                $63.44        N/A              N/A               1 Mo.      0.00%            $63.44 per
LLC                          19940 Blaine Rd                                                                                           month
CLASS 15                     Beaver, OR 97108
(Payment described in this
section to cure arrearage
only; remainder of claim
paid
direct – See ¶ 4)

Paula Wolf                   Cattle; Real Property;       $30,000       N/A              N/A               10 Mo.     3.00%            $21,000 x 1;
CLASS 16                                                                                                                               $1,000 per
(Payment to cure arrearage                                                                                                             month
and pay administrative                                                                                                                 thereafter
claim; remainder of claim
paid direct – See ¶ 4)

* “AAFAAC” means: all available funds after administrative claims are paid in full, including attorney fees and other § 503(b) claims, but excluding
§ 503(b)(9) claims that are also secured and treated in Paragraph 2(b) of the Plan.




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            If payments to a creditor are to begin after debtor’s attorney has been paid, the payments
            to said attorney shall not exceed $                before the creditor is paid. If the debtor
            is not paying the debt in full, the debtor MOVES the court for an order fixing the value of
            the collateral as set forth above.

            If the collateral is not to be sold, the value of the collateral shall be fixed in the amount
            stated above for purposes of administration of this plan as well as for purposes of the
            amount of any secured claim, if under secured, unless objected to at or before the first date
            set for the confirmation hearing on this plan or, if applicable, prior to expiration of time to
            object to this proposed modified plan, in which case the value will be determined by the
            court. If the collateral is to be sold the value shall be the sales price. The debtor MOVES the
            court for an order so fixing the value of the collateral. Otherwise, the creditor’s proof of
            claim shall control.

      (2) Debtor proposes that the creditor(s) specifically identified below agree to the following
          treatment which the court might not be able to approve absent consent of creditor(s). Failure
          of creditor(s) to file a written objection to this plan prior to confirmation shall
          constitute acceptance of the plan. From the payments received pursuant to pt. 1, if a claim
          has been timely filed and allowed as secured, make payments to the following holders of
          such claims as detailed below. Estimated prepetition arrearages, if curing and reinstating,
          must be shown below. The arrearages shown in a timely filed and allowed secured
          claim shall control.

                                   Estimated      Collateral      Estimated                      Post-
                                   Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
 Creditor         Collateral        if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment




            If the collateral is not to be sold, for purposes of administration of this plan and case, the
            secured claim shall be limited to the value of the collateral stated above, unless creditor(s)
            objects at or before the first date set for the confirmation hearing on this plan or, if
            applicable, prior to expiration of time to object to any proposed modified plan, in which
            case, the values will be determined by the court. If the collateral is to be sold, the value
            shall be the sales price. The debtor MOVES the court for an order so fixing the value of
            the collateral.

      (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from
          funds on hand with the trustee in the payment amounts specified in the plan for the subject
          secured creditors, absent a provision in this plan or a court order providing for a different
          amount to be paid preconfirmation. If the debtor fails to make monthly payments sufficient
          to pay the adequate protection payments in full, the trustee will disburse available funds pro
          rata according to the payments proposed for subject secured creditors. Adequate
          protection payments paid through the trustee preconfirmation will be deducted from the
          amount of the allowed claim. Unless the concerned secured creditor is fully secured or
          oversecured, no interest shall be paid from the date of the filing of the petition to the date of

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           confirmation unless otherwise specifically provided for in the payment provisions set forth
           above.

      (4) The debtor shall surrender any collateral which is not otherwise addressed by the terms of
          this plan no later than upon confirmation of this plan to the following creditors (state
          creditor NAME and DESCRIBE collateral to be surrendered):




   (c) Third, pro rata, until fully paid, allowed unsecured domestic support obligations.
   (d) Fourth, allowed administrative expenses under § 507(a)(2).
   (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in § 507(a)(3)-(10),
       unless otherwise ordered.
   (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required
       by § 1225(b)(1). These monies will be distributed in the method indicated in the applicable
       section marked below. The terms of pt. 8 shall also apply.
           (1) The creditors will receive approximately 100 % of their claims. This percentage will
                 vary depending on the amount of total creditors' claims filed.
           (2) The creditors will receive a minimum            % of their claims. This percentage will not be
                 reduced despite the amount of total creditors' claims filed.
   (g) Pursuant to § 1225(a)(4), the unsecured creditors as a group will receive                 100%       a
       minimum of $                                       (check applicable provision; if neither is checked,
       "100%" controls) plus          1.49      % shall be paid on all timely filed and allowed priority and
       nonpriority unsecured claims from the date of plan confirmation to compensate for deferred
       payment.

3. The debtor moves for assumption of the following executory contracts and leases:
        Creditor             Amount of Default [State if None]              Cure Provisions
 Tillamook County Creamery Assoc. None                                  N/A




   Those executory contracts or leases not specifically mentioned above are treated as rejected. Any
   timely filed and allowed claim arising from rejection shall be treated under pt. 2(f). The debtor will
   pay all assumed executory contracts and leases directly, including amounts required to cure. The
   debtor shall surrender any property covered by rejected executory contracts or leases to the
   affected creditor no later than upon confirmation of this plan.

4. The debtor shall pay directly to each of the following creditors, whose debts are fully secured, the
   regular payment due postpetition on these claims in accordance with the terms of their respective
   contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other treatment of such

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   secured creditor(s) in pt. 2(b):
     See Attached Continuation Statement to Paragraph 4




5. The property described below is to be sold [also state offering price and whether it will be offered
   through a broker (and if so, who), and state date by which it will be sold and what will occur if it is
   not timely sold], all offers received by the debtor shall be promptly communicated to the trustee
   and lienholders, and no sale of such property shall be completed without notice to lienholders and
   the trustee and an opportunity for a hearing:
     23220 Blaine Rd., Beaver, OR - Property sold and proceeds distributed as set forth in Chapter 12 Plan dated February
     11, 2020, as modified by the Order Confirming Chapter 12 Plan and Resolving Motions entered March 25, 2020 [ECF
     No. 160].




6. Subject to the provisions of § 502, untimely claims are disallowed, without the need for formal
   objection, unless allowed by court order.

7. Except as provided in this plan or in the order confirming the plan, upon confirmation of this plan all
   of the property of the estate shall vest in the debtor(s) free and clear of any claim or interest of any
   creditor provided for by this plan pursuant to 11 U.S.C. § 1227.

8. [To be completed if plan will not be completed until more than 36 months after the first plan payment
   due under the originally filed plan.] The scheduled month and year the plan will be completed is
                         1/2025                     and the cause for a plan longer than 36 months is:
   to pay creditors 100%                                                                                  .
   Except as otherwise explicitly provided by pt.     8     , the debtor shall make plan payments for the
   longer of either: (a) 36 months from the date the first payment is due under the original plan, unless
   the debtor pays 100% of all claims with interest if required, or (b) the time necessary to complete
   required payments to creditors.

9. This plan may be altered postconfirmation in a non-material manner by court order after notice to
   the debtor, the trustee, any creditor whose claim is the subject of the modification, and any
   interested party who has requested special notice.

10. Except as otherwise provided herein, (a) postpetition interest on all unsecured claims is disallowed,
    and (b) unsecured claims allowed in the amount of $25 or less, to the extent claims of that class
    are entitled to a distribution under this plan, shall be paid in the full amount allowed prior to any
    payments to other unsecured claims of the same class.



/s/ Nicholas J. Henderson, OSB #074027       09/21/20                        /s/ Eric Silva                    09/21/20
Debtor                                    Date                 Debtor                                    Date




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                  Chapter 12 Plan Continuation Statement for Paragraph 4

        The debtor shall pay directly to each of the following creditors, whose debts are fully
secured, the regular payment due post-petition on these claims in accordance with the terms of
their respective contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other
treatment of such secured creditor(s) in pt. 2(b):

    1. Paula Wolf: Debtor shall make regular payments of $5,545.98 through milk check
assignment;

   2. Paula Wolf: Debtor shall make payments directly to the following creditor to satisfy
ongoing indemnity obligations set forth in Debtor’s divorce judgment:
   a. HAPO Credit Union for a business trailer acquired from Paula Wolf, which is still titled
      in Paula Wolf’s name. Upon full payment of the HAPO Credit Union loan, Paula Wolf
      shall transfer clear title to the trailer to the Debtor; and
   b. Key Bank N.A. (Claim 13-1) for a business credit card.
      Debtor may partially or fully prepay either or both of these debts at any time, to fully
      satisfy his indemnity obligations with respect to these two debts. Debtor must make such
      payments through automatic, recurring scheduled transactions (if such transactions are
      available) and, within forty-five (45) days of the effective date of this Amended Chapter
      12 Plan.

    3. Kevin Smith & Greg Brown, for Estate of Marian Bell: regular ongoing payments to
resume postconfirmation through milk check assignment. Arrearage payments described in
Paragraph 2(b)(1) of the Plan shall be paid by the Trustee;

    4. Carrington Mortgage Svcs., LLC: regular payments to be paid direct by Debtor;

    5. Tillamook County Creamery Assoc.: regular payments shall be made to TCCA through
the monthly milk check, and TCCA is authorized to deduct $2,700 for funds improperly and
inadvertently paid by TCCA to Boverman & Assoc. just prior to the petition.

    6. ASL Claimants (Classes 2A, 2B and 2C): After confirmation of the Chapter 12 Plan
dated February 11, 2020, Debtor paid the Class 2 claims directly their pro-rata share of proceeds
from pre-confirmation cattle sales that occurred after entry of the Final Order Authorizing Use of
Cash Collateral of Debtor-In-Possession and Granting Adequate Protection [ECF No. 74].
Claimants will continue to have a replacement lien on all new cattle. All payments to the ASL
Claimants shall be made as set forth in the Continuation Statement to Paragraph 2(b)(1). ASL
Claimants shall continue to receive reports of cattle sales post-confirmation. Debtor shall be
entitled to sell cattle in the ordinary course of his business, and shall be entitled to use such
proceeds for business operations, provided that the Debtor’s herd is the same or larger than it
was at the time of confirmation (the “Baseline Herd Size”). In the event sales of cattle cause the
headcount of Debtor’s herd to fall below the Baseline Herd Size, Debtor shall segregate such
cattle sale proceeds, and such proceeds shall be paid to the ASL Claimants pro-rata, within 20
days after such sale(s). All other payments to the ASL Claimants shall be made as set forth in
Paragraph 2(b)(1) and the Continuation Statement to Paragraph 2(b)(1).

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                     Additional Paragraphs / Continuation Statements to
                     Amended Chapter 12 Plan Dated October 13, 2020

        11.     Detailed Treatment of KeyBank, N.A.’s Secured Claim (to supplement Paragraph
2(b)(a)):

            Within 30 days following the effective date of this Amended Chapter 12 Plan
dated October 13, 2020, KeyBank and Debtor shall calculate the amount owing under the
Debtor’s five existing promissory notes, including interest, fees and costs allowed under 11
U.S.C. § 506(b), and the parties shall execute appropriate documents substantially in the form
attached hereto as Exhibit 1, to amend, restate and consolidate such notes and related loan
documents (except for credit card accounts and legal fees and costs) into one loan obligation.

             Starting immediately after the effective date of this Amended Chapter 12 Plan, the
debtor will provide KeyBank with the following financial information and information related to
the operation of his business: (1) quarterly financial statements (profit and loss statement,
balance sheet) due 20 days after each calendar quarter; (2) annual financial statements due 30
days after the end of each fiscal year; and (3) the debtor’s tax return and all accompanying
schedules due 10 days after filing; (4) notice of any default in any scheduled payments to
creditors under the plan due within 10 days following such default; and (5) copies of any
complaint, demand, notice of default, notice of claim or similar documents received by the
debtor within 10 days following receipt thereof. Debtor shall provide this same information,
within the same deadlines stated herein, to Paula Wolf.

             The debtor will: (1) pay and discharge all federal, state, local taxes before they
become delinquent; (2) maintain insurance on KeyBank’s collateral for the full insurable value
thereof with KeyBank named as loss payee and additional insured; and (3) allow KeyBank
access to the debtor’s premises with reasonable notice to inspect KeyBank’s collateral and
examine the debtor’s books and records.

             The debtor will not: (1) create, incur or assume any new material obligations or
indebtedness not directly connected to his dairy business and disclosed in the budget and
projections submitted in connection with confirmation of the plan; (2) create or suffer to exist
any lien upon his properties or assets, except those arising in the ordinary course of business or
by operation of law; and (3) sell, convey, transfer or otherwise dispose of any of KeyBank’s
collateral without KeyBank’s written consent, except as specifically permitted by the plan or as
may arise in the ordinary course of business.

            All collateral securing the Debtor’s existing promissory notes to KeyBank will
secure the new amended and restated promissory note with the same validity and priority that
they secure the existing notes.

            The Debtor will promptly execute such instruments and documents as KeyBank
may reasonably request from time to time, including but not limited to modifications of
mortgage and memoranda of modifications of mortgage, as may be necessary or appropriate to
evidence the modification and restructure of the debtor’s loan documents under the plan.
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Amended Chapter 12 Plan Dated October 13, 2020                          Case No. 19-34037-pcm12
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        12.    The effectiveness of this Amended Plan dated October 13, 2020 shall not preclude
the assertion by Debtor against any creditor of any and all objections to claims, nor the raising by
Debtor of offsets, counterclaims or recoupment against any creditor.

        13.     Claims Within Section 503(b)(9): a) Claim 28 of Purina Animal Nutrition LLC is
duplicative of a portion of Claim 27, filed by the same creditor. Claim 27 shall be paid as set
forth in Section 2(b)(1). Claim 28 shall not be paid separately from the payments made for
Claim 27, and shall be fully satisfied by Debtor's payment of Claim 27; and b) the administrative
portion of Claim No. 26 shall be paid as a secured claim as set forth in Section 2(b)(1).

        14.    On or before month 48, Debtor shall refinance the Dairy Property at 26755
Blankenship Road, Beaver, OR, to pay Key Bank in full, and to contribute additional funds to the
plan as may be needed to ensure that allowed priority and unsecured claims are paid in full by
the 60th month of the Plan. If Debtor has not refinanced by month 48, Debtor shall list the Dairy
Property for sale, and will sell the property before month 60.

        15.      Notwithstanding any provision in this Plan to the contrary, Debtor shall be
entitled to retain all dividend/debenture payments paid by Tillamook County Creamery Assoc.,
and use such funds for Debtor's business operations.

        16.      Notwithstanding any provision in this Plan to the contrary, Debtor shall be
entitled to retain any government assistance payments received from any government agency
related to or designed to alleviate the effects of COVID-19. Debtor shall be entitled to use any
funds received for business operations.

       17.     Prior to entry of the Confirmation Order, Debtor reached a settlement agreement
with Boverman & Associates, LLC (“Boverman”), regarding Debtor’s Objection to Claim No.
29-1, on the following terms:

           Boverman’s claim was allowed as a priority claim under 11 U.S.C. § 503(b)(3)(E), in
            the amount of $137,500;

           KeyBank N.A. paid Boverman the sum of $65,000, and such payment was credited to
            reduce Boverman’s allowed claim by the same amount. The amount paid by
            KeyBank shall be part of the KeyBank Amended and Restated Promissory Note
            described in Paragraph 11 above;

           Boverman’s remaining priority claim of $72,500 shall be paid in full on or before
            April 30, 2021;

           Upon entry of the Confirmation Order, Boverman on the one hand, and Debtor and
            Key Bank on the other hand, released and forever discharged each other, and all of
            their respective employees, agents, officers, owners, members, shareholders,
            attorneys, insurers, successors, and assigns, from any and all claims, demands, causes
            of action, damages, injury, expenses, or liabilities of any kind or nature whatsoever
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                arising or accruing on or prior to the date of entry of the Confirmation Order, whether
                known or unknown, whether under contract, tort, or otherwise, including, but not
                limited to, any causes of action asserted or that could have been asserted in relation to
                Boverman’s appointment as a receiver for Debtor’s assets (the “Receivership”), and
                any claims arising subsequent to the bankruptcy petition related to the Receivership.
                The foregoing release was intended to be as broad as possible and shall be interpreted
                accordingly. The foregoing release did not apply to either of the parties’ obligations
                under the Debtor’s prior Chapter 12 plan(s) or the Confirmation Order, but such
                obligations are modified by this Amended Chapter 12 Plan dated October 13, 2020.

           Upon the Effectiveness of this Amended Chapter 12 Plan dated October 13, 2020,
            Boverman’s Proof of Claim shall be deemed amended to be consistent with the terms
            of this Plan.

        18.     Debtor has submitted paperwork to Tillamook County Creamery Association
(“TCCA”) to have trustee payments paid directly from TCCA. Debtor shall not withdraw such
payment instructions without providing notice of intent to the Trustee and all other parties in
interest and allowing 14 days for parties to object to such notice.



/s/ Nicholas J. Henderson                            /s/ Eric L. Silva
Nicholas J. Henderson, OSB No. 074027                Eric L. Silva, Debtor
Attorney for Debtor




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                                          Exhibit 1 to
                               Amended Plan Dated October 13, 2020



              AMENDED AND CONSOLIDATED PROMISSORY NOTE

  Principal             Date of Note                 Confirmation Date              Obligation No.              Account                 Officer
$1,512,199.70        September 21, 2020               March 25, 2020                    10001                 E2000320942               BDTOC
    References in the boxes above are for lender’s use only and do not limit the applicability of this document to any particular loan or item.
                                                                        .

   BORROWER AND MAKER:                                                                    LENDER AND HOLDER:
   Eric L. Silva                                                                          KeyBank National Association
   26755 Blankenship Road                                                                 1101 Pacific Avenue
   Beaver, Oregon 97108                                                                   Tacoma, Washington 98402

PURPOSE OF NOTE. In consideration of money loaned, Borrower previously executed and delivered to
Lender various Promissory Notes and other evidence of indebtedness, together with all modifications,
extensions, change in terms, renewals and substitutions thereof, including:
    (1) Promissory Note dated August 4, 2014, in the original principal amount of
        $1,310,000.00, evidencing an Indebtedness referred to in Lender’s records as Loan No.
        18001;
    (2) Promissory Note dated January 11, 2016, in the original principal amount of
        $186,000.00, evidencing an Indebtedness referred to in Lender’s records as Loan No. 9;
    (3) Promissory Note dated September 14, 2017, in the original principal amount of
        $125,000.00, evidencing an Indebtedness referred to in Lender’s records as Loan No. 10;
    (4) Promissory Note dated March 12, 2018, in the original principal amount of $100,000.00,
        evidencing an Indebtedness referred to in Lender’s records as Loan No. 11; and
    (5) Promissory Note dated September 3, 2018, in the original principal amount of
        $110,000.00, evidencing an Indebtedness referred to in Lender’s records as Loan No.
        201001 (collectively the “Prior Notes”).

Borrower is a debtor in a case under Chapter 12 of the Bankruptcy Code (the “Chapter 12 Case”) entitled
In re Silva, Case No. 19-34037-pcm12, filed October 31, 2019 in the United States Bankruptcy Court for
the District of Oregon (the “Bankruptcy Court”). On January 9, 2020, Lender filed a proof of claim in the
Bankruptcy Case in amount of $1,536,505.74 based on amounts owed under the Prior Notes. Pursuant to
11 U.S.C. § 506(b), Lender is entitled to additional interest, fees and costs on its Proof of Claim.

Borrower filed a Second Amended Chapter 12 Plan with the Bankruptcy Court on February 11, 2020 (the
“Chapter 12 Plan”). The Chapter 12 Plan, as modified, was approved by the Bankruptcy Court and made
binding pursuant to an Order Confirming Chapter 12 Plan and Resolving Motions entered March 25, 2020
(the “Confirmation Order”). The Confirmation Order provides for restructure of Borrower's obligations
and indebtedness to Lender by consolidating the Prior Notes. The purpose and intent of this Note is to
effectuate and implement the provisions of the Chapter 12 Plan and Confirmation Order, including
modifications thereof, respecting Borrower's indebtedness to Lender.

This Note amends, restates, consolidates and supersedes Borrower's Prior Notes to Lender, but does
not constitute a repayment, satisfaction or novation of any of the Indebtedness evidenced by the
Prior Notes.

PROMISE TO PAY. ERIC L. SILVA (“Borrower”), promises to pay to KEYBANK NATIONAL
ASSOCIATION (“Lender”), or order, in lawful money of the United States of America, the principal

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amount of One Million Five Hundred Twelve Thousand, One Hundred Ninety-Nine Dollars and Seventy
Cents, ($1,512,199.70), together with interest, fees and costs as provided herein.

PAYMENT. Under the Chapter 12 Plan and Confirmation Order, the Chapter 12 trustee shall act as
disbursing agent and make the payments to Lender as provided herein. Borrower shall, on or before the
fifteenth day of each month, deposit sufficient funds with the Chapter 12 trustee, as to enable the trustee,
commencing September 25, 2020, and on the same date each month thereafter until the Maturity Date, to
make regular monthly payments to Lender at such place as Lender may designate in writing from time to
time, in accordance with the following payment schedule:
    (1)     September 25, 2020 through and including December 25, 2020: regular equal monthly
            payments of principal and interest in the amount of $9,500.00 each month;
    (2)     January 25, 2021 through and including September 25, 2022: regular equal monthly payments
            of principal and interest in the amount of $12,500.00 each month;
    (3)     October 25, 2022 through and including November 25, 2023: regular equal monthly payments
            of principal and interest in the amount of $45,000.00;
    (4)     December 25, 2023 through and including December 25, 2024: regular equal monthly
            payments of principal and interest in the amount of $55,000.00; and
    (5)     January 25, 2025: one irregular payment of all remaining principal, accrued interest and any
            unpaid fees and charges.

INTEREST RATE. This Note shall bear interest at the rate of 6.50% per annum, fixed (the “Interest
Rate”).

MATURITY DATE. The Maturity Date of this Note shall be January 25, 2025, at which all remaining
principal, accrued interest and outstanding fees, costs and other charges shall be due and payable.

INTEREST AFTER DEFAULT. Upon default, including the failure to pay on final maturity, and after
the expiration of any applicable cure period, Lender may charge interest on the unpaid balance of this Note
from and after the date of the occurrence of an Event of Default at lesser of (a) the Interest Rate (as defined
above) plus three percent (3.00%) per annum, or (b) the maximum lawful rate under applicable law.
(NOTICE: Under no circumstances will the interest rate on this Note be more than the maximum rate
allowed by applicable law. It is expressly stipulated and agreed to be the intent of Borrower and Lender at
all times to comply with applicable law governing the maximum rate or amount of interest payable on this
Note. If the applicable law is interpreted by a court of competent jurisdiction so as to render usurious,
illegal or unenforceable any amount called for under this Note, then it is Borrower's and Lender's express
intent that all excess amounts be credited to the principal balance (or if this Note would thereby be paid in
full, any excess amount be refunded to Borrower), and the provisions of this Note shall immediately be
deemed reformed without the necessity of the execution of any new documents, so as to comply with the
applicable law, but to permit recovery of the fullest amount otherwise called for by this Note.)

COMPUTATION OF INTEREST. Interest on the outstanding principal balance of this Note shall be
computed on the basis of a “360-day year for the actual number of days elapsed” (such phrase shall mean
that in computing interest for the subject period, the interest rate shall be calculated by dividing the annual
interest rate by 360 to determine the daily rate, and this daily rate is applied to the outstanding balance to
determine each day’s interest). Interest shall accrue until the date of actual receipt of payment by Lender.

SECURITY. All real and personal property previously granted to Lender to secure Borrower’s obligations
and indebtedness under the Prior Notes shall continue to secure the indebtedness evidenced by this Note.




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PREPAYMENT. Borrower may pay without penalty all or a portion of the amount owed earlier than it is
due. Early payments will not, unless agreed to by Lender in writing, relieve Borrower of Borrower's
obligation to continue to make regular annual payments. Borrower agrees not to send Lender payments
marked "paid in full," “without recourse,” or similar language. If Borrower sends such a payment, Lender
may accept it without losing any of Lender’s rights under this Note, and Borrower will remain obligated to
pay any further amount owed to Lender.

COMMUNICATIONS. All written communications concerning this Note must be mailed or hand-
delivered to Lender at the following address (or at such other address as Lender may designate in writing):
KeyBank National Association, Attn: Brent Thompson, Specialized Finance, 1101 Pacific Avenue,
Tacoma, Washington 98402.

LATE CHARGE. If a payment is ten (10) or more days late, Borrower will be charged a late payment
charge equal to 5.000% of the regularly scheduled payment or $100.00, whichever is greater. Borrower
agrees that such late payment charge is not a charge for the use of money but is imposed to compensate
Lender for some of the administrative services, costs and losses associated with any delinquency or default
under the Note. Borrower agrees that the late charge is a reasonable estimate of the loss and expense that
may be incurred by Lender due to Borrower's failure to make timely payments. Notwithstanding the
foregoing, Borrower shall not be subject to a late payment charge if Borrower has timely paid the Chapter
12 trustee the sums necessary to make the payment to Lender and the late payment is the result of delay by
the trustee or other circumstances beyond Borrower’s control.

DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $25.00 if Borrower makes a payment
and the check or preauthorized charge with which Borrower pays Lender is later dishonored.

REPRESENTATIONS OF BORROWER. Borrower hereby represents and warrants to the Holder that:

    Authorization. All action on the part of Borrower necessary for the authorization, execution and
    delivery of this Note and the performance of all obligations of Borrower hereunder, has been duly
    authorized.

    Governmental Consents. No consent, approval, order or authorization of, or registration, qualification,
    designation, declaration or filing with, or notification to, any federal, state or local governmental
    authority on the part of the Borrower is required in connection with the consummation of the
    transactions contemplated by this Note.

    Compliance with Other Instruments. Borrower is not in violation or default of any material
    instrument, judgment, order, writ, decree or contract to which it is a party or by which it is bound,
    including the Chapter 12 Plan and the Conformation Order, or of any provision of federal or state
    statute, rule or regulation applicable to the Borrower. The execution, delivery and performance of this
    Note and the consummation of the transactions contemplated hereby will not result in any such
    violation or be in conflict with or constitute, with or without the passage of time and giving of notice,
    either a default under any such provision, instrument, judgment, order, writ, decree or contract or an
    event which results in the creation of any lien, charge or encumbrance upon any assets of Borrower.

DEFAULT. Each of the following shall constitute an event of default (“default” or "Event of Default")
under this Note:
    Payment Default. Borrower fails to make any payment when due under this Note.

    Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or
    condition contained in this Note or any provision of the Chapter 12 Plan or the Confirmation Order


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     affecting Lender or Lender's rights, or to comply with or to perform any term, obligation, covenant or
     condition contained in any subsequent agreement between Lender and Borrower.

     Default in Favor of Third Parties. Borrower defaults under the Chapter 12 Plan or the Confirmation
     Order, or any loan, extension of credit, security agreement, purchase or sales agreement or other
     agreement in favor of any other creditor or person that may materially affect any of Lender’s Collateral
     or may reasonably be expected to affect Borrower's ability to repay this Note or perform Borrower's
     obligations under this Note.

     Creditor Attachment, Garnishment, Execution, Foreclosure or Forfeiture Proceedings.
     Commencement of attachment or execution proceedings, including without limitation garnishment,
     attachment or replevin, foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
     repossession or any other method, by any creditor of Borrower or by any governmental unit or political
     subdivision against any collateral securing the loan. However, this Event of Default shall not apply if
     there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the
     basis of the creditor or forfeiture proceeding and if Borrower gives Lender written notice of the creditor
     or forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor or forfeiture
     proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate reserve or
     bond for the dispute.
     Adverse Change. A material adverse change, including any event, occurrence, change in facts,
     conditions or other change in circumstance which has or is reasonably expected to have a material
     adverse effect on Borrower’s business, results of operations, assets, liabilities or financial condition,
     including diminution in the value of Borrower’s property or business assets, as determined from the
     perspective of a reasonably prudent lender in Lender’s position, occurs following the execution and
     delivery of this Note, or Lender otherwise believes in good faith that the prospect of payment or
     performance of this Note is impaired.

CURE PROVISIONS. If Borrower fails to make any payment when due, Borrower shall have the right to
cure the default within thirty (30) days after Lender sends written notice to Borrower demanding cure. If
Borrower fails to comply with or to perform any other obligation to Lender, including financial disclosures
and reporting requirements provided in the Loan Documents or the Confirmation Order, such Event of
Default may be cured if Borrower, after receiving written notice from Lender demanding cure of such
default cures the default within forty-five (45) days.

LENDER'S RIGHTS. If there shall occur any Event of Default and Borrower fails to cure such default as
provided herein, Lender may declare the entire unpaid principal balance on this Note and all accrued unpaid
interest immediately due, and then Borrower will pay that amount. Lender may also, if permitted under
applicable law, charge interest on the unpaid balance of this Note at the Default Interest Rate.

ATTORNEYS' FEES; EXPENSES. Lender may hire or engage an attorney to help collect this Note if
Borrower does not pay. Borrower will pay Lender that amount. This includes, subject to any limits under
applicable law, reasonable attorneys' fees and other related legal expenses, whether or not there is a lawsuit,
including without limitation filing fees, service of process fees, expert witness fees, mileage fees, copy costs,
long distance telephone tolls, expenses relating to bankruptcy proceedings, and appeals. If not prohibited by
applicable law, Borrower also will pay any court costs, in addition to all other sums provided by law.

JURY WAIVER. TO THE FULLEST EXTENT PERMITTED BY LAW, LENDER AND
BORROWER HEREBY WAIVE THE RIGHT TO TRIAL BY JURY IN ANY ACTION,
LITIGATION OR PROCEEDING IN ANY COURT WITH RESPECT TO, IN CONNECTION
WITH, FOUNDED UPON OR ARISING OUT OF THIS NOTE, ANY OTHER LOAN
DOCUMENTS, OR ANY OTHER AGREEMENT, INSTRUMENT OR DOCUMENT DELIVERED
IN CONNECTION WITH THIS NOTE, OR INVOLVING THE VALIDITY, INTERPRETATION,


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COLLECTION OR ENFORCEMENT THEREOF, INCLUDING ANY CLAIM, DEFENSE,
COUNTERCLAIM, DEMAND, COUNTER DEMAND OR OTHER DISPUTES OF EVERY
NATURE WHATSOEVER ARISING BETWEEN BORROWER AND LENDER.

GOVERNING LAW; SUBMISSION TO JURISDICTION. This Note shall be governed by, and
construed, interpreted and enforced in accordance with, the laws of the State of Oregon without regard to its
conflicts of law provisions. This Note has been accepted by Lender in the State of Oregon. Borrower hereby
submits to personal jurisdiction in said State for the enforcement of Borrower’s obligations hereunder.

PRIOR NOTES. This Note consolidates, amends and restates in their entirety the obligations and
indebtedness of Borrower to Lender arising under Prior Notes relating to certain commercial loans referred
to as Loan No. 18001, Loan No. 201001, Loan No. 9, Loan No. 10, and Loan No. 11,as more particularly
described in Lender’s proof of claim in the Chapter 12 Case, but is not a repayment, satisfaction or novation
of the indebtedness evidenced by the Prior Notes.

NO WAIVER BY LENDER. Neither the waiver by Lender of a breach of or a default by Borrower of any
of the provisions of this Note, nor the failure by Lender, on one or more occasions, to enforce any of the
provisions of this Note or to exercise any right or privilege hereunder, shall be construed as a waiver of any
other breach or default of a similar nature, or as a waiver of any of such provisions, rights or privileges
hereunder. No failure or delay on the part of Lender in the exercise of any right hereunder shall impair such
right or be construed to be a waiver of, or acquiescence in, any breach of any term, provision covenant or
agreement herein, nor shall any single or partial exercise of any such right preclude other or further exercise
thereof or of any other right.

SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower and upon Borrower’s
heirs, personal representatives and successors, and shall inure to the benefit of Lender and its successors and
assigns.

GENERAL PROVISIONS. Lender may delay or forego enforcing any of its rights or remedies under this
Note without losing them. Borrower and any other person who signs, guarantees or endorses this Note, to the
extent allowed by law, waive presentment, demand for payment, and notice of dishonor. Upon any change in
the terms of this Note, and unless otherwise expressly stated in writing, no party who signs this Note,
whether as maker, guarantor, accommodation maker or endorser, shall be released from liability. All such
parties agree that Lender may modify, amend, renew or extend (repeatedly and for any length of time) this
Note or release any party or Guarantor or collateral; or impair, fail to realize upon or perfect Lender's
security interest in the collateral; and take any other action deemed necessary by Lender without the consent
of or notice to anyone.

PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE
PROVISIONS OF THIS NOTE, INCLUDING THE DEFAULT INTEREST RATE PROVISIONS.
BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY
NOTE. BORROWER AGREES TO THE TERMS OF THIS NOTE.

     IN WITNESS WHEREOF, Borrower, intending to be legally bound, has duly executed this Note as of
the day and year first above written.

     BORROWER:
     ERIC L. SILVA

     _______________
     Eric L. Silva


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